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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ELI M. BOROCHOV, et al.,

                        Plaintiffs,

                        v.                           Case No. 1:19-cv-02855 (TNM)

 ISLAMIC REPUBLIC OF IRAN, et al.,

                        Defendants.


                                            ORDER

       Upon consideration of the Plaintiffs’ Motion for Default Judgment, the pleadings, and

relevant law, for the reasons set forth in the accompanying Memorandum Opinion it is hereby

       ORDERED that Plaintiffs’ [55] Motion for Default Judgment is GRANTED IN PART

and DENIED IN PART. The motion is granted insofar as individual Plaintiffs are awarded the

following damages:


       •    Eli Borochov is awarded $5,000,000 in pain and suffering damages and $5,000,000 in

            punitive damages for a total of $10,000,000;

       •    Ronen Borochov is awarded $1,000,000 in pain and suffering damages, $2,500,000 in

            solatium damages, and $3,500,000 in punitive damages for a total of $7,000,000;

       •    Josef Borochov is awarded $1,000,000 in pain and suffering damages, $1,250,000 in

            solatium damages, and $2,250,000 in punitive damages for a total of $4,500,000;

       •    Devora Borochov is awarded $2,500,000 in solatium damages and $2,500,000 in

            punitive damages for a total of $5,000,000;

       •    Avraham Borochov is awarded $1,250,000 in solatium damages and $1,250,000 in

            punitive damages for a total of $2,500,000;
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       •    Shira Borochov is awarded $1,250,000 in solatium damages and $1,250,000 in

            punitive damages for a total of $2,500,000;

       •    Yoav Golan is awarded $5,000,000 in pain and suffering damages and $5,000,000 in

            punitive damages for a total of $10,000,000;

       •    Yehudit Golan is awarded $2,500,000 in solatium damages and $2,500,000 in

            punitive damages for a total of $5,000,000;

       •    Matan Golan is awarded $1,250,000 in solatium damages and $1,250,000 in punitive

            damages for a total of $2,500,000;

       •    Rotem Golan is awarded $3,000,000 in pain and suffering damages and $3,000,000 in

            punitive damages for a total of $6,000,000;

       The motion is denied insofar as Plaintiffs seek damages for Shari Borochov, Raphael

Golan, Nadav Golan, Yael Inbar, Shai Fishfeder, Efrat Fishfeder, Ohad Fishfeder, Omer

Fishfeder, and Shiri Fishfeder.

       The motion is also granted in part insofar as Plaintiffs seek punitive damages but denied

in part insofar as Plaintiffs seek $300,000,000 in punitive damages. The Court awards an

amount in punitive damages equal to compensatory damages, $27,500,000, to be apportioned, as

described above, according to Plaintiffs’ compensatory damages.

       The motion is denied insofar as Plaintiffs seek prejudgment interest, an inflationary

adjustment to their damages, costs, disbursements, reimbursement of expenses, and allowance of

reasonable fees for their counsel and experts.

       SO ORDERED.




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      This is a final, appealable Order. The Clerk of Court is requested to close the case.

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Dated: March 4, 2022                                TREVOR N. McFADDEN
                                                    United States District Judge




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